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                                     STATEMENT OF FACTS

        On Sunday March 13, 2022 at approximately 08:50 A.M. in front of 3803 9th St. SE
Washington, DC (PSA 706), Officer Dieng, Officer Samaraay, and Officer Salkanovic were
patrolling in a marked Metropolitan Police vehicle 7063 using call sign CDU-7136 daywork, in PSA
706 when they observed a white in color Dodge Journey bearing Commercial Louisiana Tags
N557457, run a stop sign at the corner of 9th and Wahler Pl SE. Officers conducted a traffic stop on
the vehicle.

        As officers approached the vehicle, they observed an individual, later identified as Keith
Steedly (hereinafter “the defendant”), in the driver’s seat. Officers also observed a minor child in a
car seat in the rear seats of the vehicle. The officers told the defendant that he had passed a stop sign
without stopping and asked the defendant for his license and proof of insurance. The defendant stated
in substance to officers that he did not see the stop sign. The defendant stated in substance to officers
that he did not possess a driver’s license. As officers spoke with the defendant, they observed an open
container of alcohol in the vehicle. The defendant stated words to the effect of "this is old beer, it’s
even warm" as he handed the container to officers. Officers asked the defendant to step out of the
vehicle.

        As the defendant stepped out of the vehicle, officers observed a black in color firearm on the
driver side flood board. Officers were able to place the defendant in handcuffs and remove and
recover the black in color firearm from the vehicle. The defendant was placed under arrest and
transported to the Seventh District station for processing.

        The handgun that was recovered from the vehicle was a: Make: Taurus G2; Serial number:
tkr82870; Caliber: 9MM; Color: Black. The handgun appeared to be fully functional, designed to
expel a projectile by the action of an explosive, had a barrel length of less than 12 inches, and
appeared to be capable of being fired by the use of a single hand. There were no rounds chambered
in the firearm and 1 round in the magazine. The magazine had a maximum capacity of 12 rounds.
There are no firearm or ammunition manufacturers in the District of Columbia. Therefore, the firearm
and ammunition in this case would have necessarily traveled in interstate commerce.

        A WALES/NCIC query of the defendant revealed negative results for a Driver’s License.
WALES/NCIC checks on the firearms were conducted and revealed that neither firearm was
registered in the District of Columbia and that the defendant was not licensed to carry. A criminal
history check of the defendant showed that he was previously convicted of a crime punishable by
more than one year in the United States District Court, District of Maryland, case number DKC-8-
13-CR-00692-001. In that case, the defendant was sentenced to imprisonment for a total term of 132
months consisting of 48 months on count one [18 U.S.C. § 1951(a)] and a consecutive sentence of
84 months on count two [18 U.S.C. § 924(c)] and therefore, the defendant was aware at the time of
this arrest that he had prior convictions for crimes punishable by more than one year.




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        Based on the foregoing, I submit that there is probable cause to believe that KEITH
STEEDLY violated 18 U.S.C. § 922(g), which makes it a crime for a person previously convicted
of a crime punishable by a term of imprisonment exceeding one year to possess a firearm and/or
ammunition.




                                           _____________________________________
                                           OFFICER ABDUL DIENG
                                           METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of March 2022.
                                                                           2022.03.14
                                                                           13:04:41 -04'00'
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE




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